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                                                    Exhibit A
                                              Statement of Claim
                                          Plaintiff Naved Sami Khan

     Unpaid Overtime (Time-and-a-Half)
                                       Average
                                                        Regular          Overtime          Total         Total
                                       Weekly
            Period¹         Weeks¹                      Hourly            Hourly          Unpaid      Liquidated
                                        Hours
                                                         Rate¹            Rate¹          Overtime¹    Damages¹
                                       Worked¹
       10/7/14 - 11/21/14    6.57        50         $       22.00    $       33.00   $     2,168.57   $   2,168.57
                                                                                     $     2,168.57   $   2,168.57

                                                                       Total Unpaid Overtime¹ = $         2,168.57
                                                                    Total Liquidated Damages¹ = $         2,168.57
                                                                                        Total¹ = $        4,337.14




¹ Numbers are averages, estimates, and/or approximates. Time and payroll records are in the possession and/or control
of Defendants. The amount of damages claimed in this statement of claim, and the amount of damages claimed in the
Complaint, may change as information is uncovered through the discovery process.
